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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                               )
                                                          )
                                Plaintiff,                )
                                                          )
                           v.                             )     No. 1:11-cr-00152-JPH-DML
                                                          )
  KENNETH WINKLER,                                        ) -04
                                                          )
                                Defendant.                )

                                                ORDER

                                                    I.

         Defendant filed a pro se letter that the Court construed as a Motion for Compassionate

  Release pursuant to Section 603 of the First Step Act of 2018 (the “First Step Act”). Counsel has

  appeared on behalf of Defendant.

                                                    II.

         Pending counsel’s review and analysis of Defendant’s eligibility for compassionate release

  pursuant to the First Step Act of 2018, and to allow counsel to communicate with Defendant

  regarding the attorney-client relationship, this matter is stayed. Proceedings will resume, and the

  stay will be lifted, when counsel files an Amended Motion for Compassionate Release on

  Defendant’s behalf or adopts Defendant’s previously-filed Motion (by notifying the Court and

  filing a motion to lift the stay), a Stipulation to Reduction of Sentence is filed, or the Court grants

  counsel’s motion to withdraw from Defendant’s case. The Court notifies the parties that, if one of

  these events has not occurred by January 21, 2021, the Court will lift the stay and enter a briefing

  order. The Court will extend the stay only upon motion from Defendant's counsel that is supported

  by good cause.
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                                                 III.

         Requests for compassionate release are governed by 18 U.S.C. § 3582(c)(1)(A)(i). That

  section prevents a court from modifying a sentence until "after the defendant has fully exhausted

  all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

  defendant's behalf or the lapse of 30 days from the receipt of such a request by the warden of the

  defendant's facility, whichever is earlier." This Court has held that the exhaustion requirement is

  not jurisdictional and can be waived by the government but that the Court cannot waive it over the

  government's objection. See United States v. Cox, No. 4:18-cr-17-TWP-VTW-1, 2020 WL

  1923220, at *3 (S.D. Ind. Apr. 21, 2020); United States v. Jackson, No. 2:15-cr-00013-JMS-

  CMM-1, Dkt. 137 (S.D. Ind. Apr. 28, 2020). Accordingly, any Amended Motion for

  Compassionate Release or motion to lift stay and adoption of Defendant’s previously-filed Motion

  filed consistent with Part II of this Entry must be supported by evidence that 30 days have passed

  since the Warden received Defendant's request for compassionate release (such as a document

  showing the warden's receipt of the request, a denial from the warden, or a declaration under

  penalty of perjury stating when Defendant made the request for compassionate release, the

  contents of the request, and how it was transmitted to the warden). Alternatively, Defendant's

  counsel may confer with the United States and submit a statement certifying that the United States

  agrees that Defendant has exhausted administrative remedies or that the United States will waive

  the exhaustion requirement in this case.

  SO ORDERED.

  Date: 10/26/2020




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  Distribution:

  All Electronically Registered Counsel




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